            Case 5:20-cv-00774-FB Document 43 Filed 02/24/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

FUNDAMENTAL SPORTS                                  )
MANAGEMENT, LLC; RAHUL PATEL;                       )
GRANT GAINES; NICOLAS LaHOOD;                       )
and ROE-BRG INVESTMENTS, LLC,                       )
                                                    )
       Plaintiffs,                                  )
                                                    )
V.                                                  )       CIVIL ACTION NO. SA-20-CA-774-FB
                                                    )                 (LEAD CASE)
                                                    )
MAYAR ZOKAEI,                                       )
                                                    )
       Defendant.                                   )

and

MAYAR ZOKAEI,                                       )
                                                    )
       Plaintiff,                                   )
                                                    )
V.                                                  )       CIVIL ACTION NO. SA-20-CA-775-FB
                                                    )
FUNDAMENTAL SPORTS                                  )
MANAGEMENT, LLC; RAHUL PATEL;                       )
GRANT GAINES; NICOLAS LaHOOD;                       )
and ROE-BRG INVESTMENTS, LLC,                       )
                                                    )
       Defendants.                                  )

                                  ORDER OF CONSOLIDATION

       Before the Court is the status of the above styled and numbered causes. After careful

consideration, and in accordance with the previous Order of Consolidation (docket no. 6) entered in

these cases on August 19, 2020, the Court is of the opinion that consolidation is proper because the suits

involve the same parties, common questions of law and fact, and it will promote judicial economy and

convenience
            Case 5:20-cv-00774-FB Document 43 Filed 02/24/22 Page 2 of 2




while also minimizing fees and expenses to consolidate these civil actions into a single case under cause

number SA-20-CA-774-FB.

       IT IS THEREFORE ORDERED that the Clerk of Court is directed to consolidate SA-20-CA-

774-FB and SA-20-CA-775-FB, with all documents to be filed from this date forward in the lead case

of SA-20-CA-774-FB.

       It is so ORDERED.

       SIGNED this 24th day of February, 2022.


                                         _________________________________________________
                                        FRED BIERY
                                        UNITED STATES DISTRICT JUDGE




                                                   2
